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Fu_ED B\¢‘ ¢___ D.C.

IN THE UNITED STATES DISTRICT COUR@S AUG -3 AH [\: 29
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

UNITED STATES OF AMERICA,

Plaintiff, Case No.: 00-20057 D

V.

HENRY J. MARMON,

Defendant.

 

ORDER

 

On the docket is the Motion of Writ of Garnishment filed September 7, 2004 (Docket No.
29). It appears to thc court from public records that Defendant Henry J. Mannon is now deceased

Accordingly, the motion is DENIED as moot.

IT IS SO ORDERED this gi day 0@=¢ , 2005.

CE BOU DONALD
ED STATES DISTRICT .TUDGE

 
 
    
 

 
  

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Honorable Bernice Donald
US DISTRICT COURT

